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18

19                         UNITED STATES DISTRICT COURT
20
                          CENTRAL DISTRICT OF CALIFORNIA
21
                                             )
22    PAVEL FUKS, an individual,             )   Case No.: 8:19-cv-1212- FLA (JDEx)
                                             )
23                                           )

                    Plaintiff,
                                             )   JOINT WITNESS LIST
24                                           )
                                             )
       vs.                                   )
25                                           )
                                             )
26    YURI VANETIK, an individual,           )
                                             )
27                                           )

28                 Defendant.
                                                                   JOINT WITNESS LIST
      46228816.1
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 1
                                           Plaintiff’s Witness List
 2        Witness’s                                             Time for      Time for
        Name*, Title,     Summary of Testimony / Why             Direct        Cross         Dates of
 3
         Affiliation           Testimony Is Unique               Exam          Exam         Testimony
 4      (If Relevant)                                           (hours)       (hours)
       Pavel Fuks,       Will testify concerning
 5     Plaintiff         Defendant’s promise to provide a
       (Resides in       VIP package for the 2017
 6     Ukraine, will     Presidential Inauguration in
 7     testify by        exchange for $200,000; payment
       video-            of the $200,000; Defendant’s         2 to 3 hours     4 hours
 8     conference        failure to provide the promised         (given         (given
       and through       VIP inauguration package;            translation)   translation)
 9     an interpreter)   Defendant’s refusal to return the
                         money; and the damages and
10
                         harm caused by Defendant’s
11                       actions.

12     Matt Keelen*,     Will testify that:
       Founder and       The Keelen Group (i) was not
13     President of      engaged to provide services for
14     the Keelen        Defendant Vanetik or any of his
       Group (may        clients in connection with the
15     testify by        Presidential Inauguration in
       video-            2017, (ii) had no contract with
16     conference)       Mr. Vanetik relating to the 2017
                         Inauguration, (iii) had no non-
17
                         disclose agreement with Mr.
18                       Vanetik relating to the 2017
                         Inauguration; (iv) did not
19                       organize a program of events
                         relating to the 2017 Inauguration;
20                       (v) had no responsibility for          1 hour         1 hour
21                       organizing a program of events
                         relating to the 2017 Inauguration
22                       either for Mr. Vanetik or Mr.
                         Fuks; (vi) purchased several
23                       tickets to one inauguration event
                         at the request of Mr. Vanetik for
24
                         which Mr. Vanetik reimbursed
25                       The Keelen Group approximately
                         $5,000 for the cost of the tickets
26                       and use of a private driver; (vii)
                         was neither promised nor
27                       received any form of
28                       compensation for information
                         about inauguration events other
               1         than the reimbursement of the                          JOINT WITNESS LIST
      46228816.1
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 1                                       Plaintiff’s Witness List
         Witness’s                                           Time for   Time for
 2     Name*, Title,    Summary of Testimony / Why             Direct    Cross      Dates of
 3      Affiliation           Testimony Is Unique              Exam      Exam      Testimony
       (If Relevant)                                          (hours)   (hours)
 4                     $5,000; (viii) held an
                       inauguration and parade viewing
 5                     party on January 20, 2017 that
                       Mr. Vanetik and Mr. Fuks
 6
                       attended; (ix) did not charge Mr.
 7                     Vanetik, Mr. Fuks, or anyone
                       else who attended the event; and
 8                     (x) was not compensated in any
                       manner for Mr. Fuks’s attendance
 9                     at the event or anyone else’s
10                     attendance at the event.

11                     Will further testify that:
                       he (i) did not observe Mr. Fuks
12                     acting in a threatening manner or
                       making threat to anyone, (ii) did
13
                       not observe Mr. Fuks behaving
14                     bizarrely or aggressively toward
                       anyone, (iii) has no knowledge of
15                     Mr. Vanetik’s communications
                       with Mr. Fuks regarding the 2017
16                     Inauguration, (iv) has no
17                     knowledge of any purported
                       approval by Mr. Fuks of any
18                     program relating to the 2017
                       Inauguration; (v) did not organize
19                     a program of events relating to
                       the 2017 Inauguration for Mr.
20
                       Fuks, Mr. Vanetik, or any of Mr.
21                     Vanetik’s other clients; and
                       (vi) had no responsibility to
22                     organize a program of events
                       relating to the 2017 Inauguration
23                     for Mr. Fuks, Mr. Vanetik, or any
24                     of Mr. Vanetik’s other clients

25
     *Indicates that witness will be called only if the need arises.
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               2                                                         JOINT WITNESS LIST
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     Case 8:19-cv-01212-FLA-JDE Document 69 Filed 06/08/21 Page 4 of 5 Page ID #:396



 1                                        Defendant’s Witness List
          Witness’s                                           Time for    Time for
 2      Name*, Title,    Summary of Testimony / Why            Direct      Cross      Dates of
 3       Affiliation           Testimony Is Unique             Exam        Exam      Testimony
        (If Relevant)                                         (hours)     (hours)
 4     Yuri Vanetik,    Will testify concerning his
       defendant        work for the plaintiff and
 5                      that plaintiff owes him
                        money. Also, about the                             1 to 2
 6                                                             4 hours
                        program set up for the                             hours
 7                      plaintiff. Also, plaintiff. threats
                        and refusal to cooperate when he
 8                      arrived for the program.
       Askana           Will testify that plaintiff did
 9     Cherniavkaya     not communicate and the                           0.5 to 1
10                      program she partially                0.75 hours
                        prepared for plaintiff. Will                        hour
11                      testify re threats plaintiff
                        made.
12     Sayhan Agiev     Will testify that plaintiff                       0.5 to 1
13                      owes defendant money.                0.75 hours
                        Also, the threats plaintiff                         hour
14                      made against defendant.
       Eric Rogers      Will testify regarding the                        0.5 to 1
15                      program he worked on for             0.75 hours
                        plaintiff and his inability to                      hour
16
                        communicate with plaintiff.
17

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               3                                                           JOINT WITNESS LIST
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     Case 8:19-cv-01212-FLA-JDE Document 69 Filed 06/08/21 Page 5 of 5 Page ID #:397



 1    DATED: June 8, 2021                   ASHBY LAW FIRM P.C.
                                            Joseph R. Ashby
 2

 3
                                            EVERSHEDS SUTHERLAND LLP
 4                                          William T. O’Brien
                                            John W. Lomas, Jr.
 5

 6
                                            By: ___/s/ Joseph R. Ashby____
 7                                                Joseph R. Ashby
                                            Attorneys for Plaintiff Pavel Fuks
 8

 9    DATED: June 8, 2021                   HAMILTON LAW OFFICES
10

11
                                            By: ___/s/ (with permission)___
12                                                John M. Hamilton
13                                                Attorneys for Defendant
                                                  YURI VANETIK
14
      Filer’s Attestation: Pursuant to Local Rule 5-4.3.4(a)(2)(i) regarding signatures,
15    Joseph R. Ashby hereby attests that concurrence in the filing of this document and
16
      its content has been obtain by all signatories listed on June 8, 2021.

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               4                                                    JOINT WITNESS LIST
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